                  Case:Case  MDL No. 3030
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Presiding Judge: Iain D. Johnston
Magistrate Judge: Lisa A. Jensen
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Filed date: 06/01/2022                                                                          6/1
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Lead Case No.: 3:22-cv-50188                                                                 THOMA.SDG
                                                                                                     IS T R IC T COURT
                                                                                          CLERK, U.S
                                         UNITED STATES JUDICIAL PANEL
                                                      on
                                          MULTIDISTRICT LITIGATION


           IN RE: DEERE & COMPANY REPAIR SERVICES
           ANTITRUST LITIGATION                                                                    MDL No. 3030


                                                   TRANSFER ORDER


                    Before the Panel:* Defendant Deere & Company moves under 28 U.S.C. § 1407 to
           centralize this litigation in the Northern District of Illinois or, alternatively, the Central District of
           Illinois. The litigation consists of six actions pending in four districts, as listed on Schedule A.
           Since the filing of the motion, the Panel has been notified of six related actions pending in four
           districts. 1
                   All responding plaintiffs, including plaintiffs in four potential tag-along actions, support
           centralization, but the parties disagree as to the appropriate transferee forum. While Deere
           proposes centralization in the Eastern Division of the Northern District of Illinois, plaintiffs in nine
           of the involved actions, in the first instance or in the alternative, propose centralization in the
           Western Division of that district. Plaintiff in the Eastern District of Tennessee Underwood action
           requests centralization in the Eastern District of Tennessee. Plaintiffs in two potential tag-along
           actions pending in the Central District of Illinois and the District of Minnesota suggest selection
           of their respective districts.
                    On the basis of the papers filed and the hearing session held, we find that these actions
           involve common questions of fact, and that centralization in the Northern District of Illinois will
           serve the convenience of the parties and witnesses and promote the just and efficient conduct of
           the litigation. These putative class actions share factual issues arising from allegations that,
           through various anticompetitive practices, Deere has monopolized the market for repair and
           maintenance services for Deere agricultural equipment equipped with engine control units by
           restricting access to necessary repair-related software and diagnostic tools. The actions assert
           substantially identical claims under the Sherman Act, along with claims of unjust emichment or
           promissory estoppel, and seek identical relief. Centralization under Section 1407 will eliminate
           duplicative discovery, prevent inconsistent pretrial rulings, particularly with respect to class
           certification, and conserve the resources of the parties, their counsel, and the judiciary.


           * One or more Panel members who could be members of the putative classes in this litigation
           have renounced their participation in these classes and have participated in this decision.
           1
             These and any other related actions are potential tag-along actions. See Panel Rules 1.1 (h), 7 .1,
           and 7.2.
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         We conclude that the Northern District of Illinois is an appropriate transferee district for
pretrial proceedings in this litigation. The majority of the parties support centralization in this
district, and it offers a geographically central and readily accessible forum for this nationwide
litigation. Six of the involved actions are pending in this district. Finally, Deere represents that
relevant witnesses and documents will be found at its headquarters in Moline, Illinois, which are
reasonably nearby. The primary dispute between the parties is as to which division of the Northern
District of Illinois would provide the most convenient transferee forum. We are not persuaded,
however, that the difference in convenience between the Eastern and Western Divisions is
significant. We assign the litigation to the Honorable Iain D. Johnston, who has not yet had the
opportunity to preside over an MDL and who already presides over five of the involved actions.
We are confident that he will steer this litigation on a prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A pending outside the
Northern District of Illinois are transferred to the Northern District of Illinois and, with the consent
of that court, assigned to the Honorable Iain D. Johnston for coordinated or consolidated pretrial
proceedings.


                                            PANEL ON MULTIDISTRICT LITIGATION




                                                             Karen K. Caldwell
                                                                 Chair


                                       Matthew F. Kennelly                  David C. Norton
                                       Roger T. Benitez                     Dale A. Kimball
                                       Nathaniel M. Gorton                  Madeline Cox Arleo




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                                                                               DISTRICT OF- ILLINOIS
                                                                                    June 7, 2022
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IN RE: DEERE & COMPANY REPAIR SERVICES
ANTITRUST LITIGATION                                                 MDL No. 3030


                                    SCHEDULE A

                 Northern District of Alabama

     WELLS v. DEERE & CO., C.A. No. 3:22-00074                3:22-cv-50189

                 Northern District of Illinois

     FOREST RIVER FARMS v. DEERE & CO., C.A. No. 1:22-00188
     PLUM RIDGE FARMS, LTD. v. DEERE & CO., C.A. No. 3:22-50030
     BROWN v. DEERE & CO., C.A. No. 3:22-50039

                 Western District of Oklahoma

     FERRELL, ET AL. v. DEERE & CO., C.A. No. 5:22-00157     3:22-cv-50190

                 Eastern District of Tennessee

     UNDERWOOD v. DEERE & CO., C.A. No. 4:22-00005           3:22-cv-50191
